
PER CURIAM
Alexander Albert Niere appeals from the trial court's Judgment and Order ("Judgment") dismissing his Motion to Modify Judgment and Decree of Dissolution, which had sought a revised child custody schedule and a decrease in his child support obligation. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law applicable to this case would serve no jurisprudential or precedential purpose. We have, however, provided a memorandum opinion for the use of the parties setting forth the reasons for our decision. We affirm the Judgment pursuant to Rule 84.16(b).
